June 25, 2004


Mr. Marc O. Knisely
McGinnis Lochridge &amp; Kilgore, L.L.P.
919 Congress Avenue, Suite 1300
Austin, TX 78701

Mr. Mike A. Hatchell
Locke Liddell &amp; Sapp, LLP
100 Congress Ave., Suite 300
Austin, TX 78701
Mr. Shannon H. Ratliff
Ratliff Law Firm, P.L.L.C.
600 Congress Ave., Suite 3100
Austin, TX 78701

RE:   Case Number:  01-0362
      Court of Appeals Number:  10-98-00244-CV
      Trial Court Number:  91-141-A

Style:      TARRANT REGIONAL WATER DISTRICT
      v.
      BILLY HARDEN GRAGG, AS INDEPENDENT EXECUTOR OF THE ESTATE OF O. L.
      GRAGG, DECEASED, ET AL.

Dear Counsel:

      Today the Supreme Court of Texas delivered the  enclosed  opinion  and
judgment in the above referenced cause.  Justice Smith not sitting.


                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Ms. Sharri Roessler   |
|   |Ms. Janet Haydon      |
|   |Chappell              |

